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  B22A (Official Form 22A) (Chapter 7) (04/13)
 In re  James Randall Johnson
                          Debtor(s)                                                   According to the information required to be entered on this statement
 Case Number:  13-23089                                                                 (check one box as directed in Part I, III, or VI of this statement):
                     (If known)                                                               The presumption arises.
                                                                                              The presumption does not arise.
                                                                                              The presumption is temporarily inapplicable.


                                 CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                            AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in Part I applies,
joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete separate statements if they
believe this is required by § 707(b)(2)(C).

                                                Part I. MILITARY AND NON-CONSUMER DEBTORS
             Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning of the
             Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
             VIII. Do not complete any of the remaining parts of this statement.
    1A
                Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in
             38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. §
             101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
             Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII.
    1B       Do not complete any of the remaining parts of this statement.
                 Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
             Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the Armed
             Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after September 11,
             2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. § 901(1)) for a period of
             at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense activity and for 540
             days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate boxes and complete any
             required information in the Declaration of Reservists and National Guard Members below, (2) check the box for "The presumption is
             temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you
             are not required to complete the balance of this form, but you must complete the form no later than 14 days after the date on
             which your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case
             before your exclusion period ends.
                Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I declare
    1C       that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed Forces or the
             National Guard

                                      a.       I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                       I remain on active duty /or/
                                                       I was released from active duty on       , which is less than 540 days before this bankruptcy case was
                                      filed;

                                                   OR

                                      b.     I am performing homeland defense activity for a period of at least 90 days /or/
                                             I performed homeland defense activity for a period of at least 90 days, terminating on        , which is less than
                                           540 days before this bankruptcy case was filed.




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                        Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
             Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
             a.      Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
             b.      Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury:
                   "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the
     2             purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's Income")
                   for Lines 3-11.
             c.      Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                   ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
             d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
             All figures must reflect average monthly income received from all sources, derived during the six          Column A           Column B
             calendar months prior to filing the bankruptcy case, ending on the last day of the month before
             the filing. If the amount of monthly income varied during the six months, you must divide the               Debtor's           Spouse's
             six-month total by six, and enter the result on the appropriate line.                                       Income             Income

     3       Gross wages, salary, tips, bonuses, overtime, commissions.                                            $       1,800.00 $
             Income from the operation of a business, profession or farm. Subtract Line b from Line a and
             enter the difference in the appropriate column(s) of Line 4. If you operate more than one
             business, profession or farm, enter aggregate numbers and provide details on an attachment. Do
             not enter a number less than zero. Do not include any part of the business expenses entered on
     4       Line b as a deduction in Part V.
                                                                         Debtor                 Spouse
              a.     Gross receipts                               $               0.00 $
              b.     Ordinary and necessary business expenses $                   0.00 $
              c.     Business income                              Subtract Line b from Line a               $                   0.00 $
             Rent and other real property income. Subtract Line b from Line a and enter the difference in
             the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
             part of the operating expenses entered on Line b as a deduction in Part V.
     5                                                                 Debtor                Spouse
              a.    Gross receipts                              $                0.00 $
              b.    Ordinary and necessary operating expenses $                  0.00 $
              c.    Rent and other real property income         Subtract Line b from Line a                        $            0.00 $
     6       Interest, dividends, and royalties.                                                                   $            0.00 $
     7       Pension and retirement income.                                                                        $            0.00 $
             Any amounts paid by another person or entity, on a regular basis, for the household
             expenses of the debtor or the debtor's dependents, including child support paid for that
     8       purpose. Do not include alimony or separate maintenance payments or amounts paid by your
             spouse if Column B is completed. Each regular payment should be reported in only one column;
             if a payment is listed in Column A, do not report that payment in Column B.                           $            0.00 $
             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
             However, if you contend that unemployment compensation received by you or your spouse was a
             benefit under the Social Security Act, do not list the amount of such compensation in Column A
     9       or B, but instead state the amount in the space below:
              Unemployment compensation claimed to
              be a benefit under the Social Security Act Debtor $               0.00 Spouse $                      $            0.00 $
             Income from all other sources. Specify source and amount. If necessary, list additional sources
             on a separate page. Do not include alimony or separate maintenance payments paid by your
             spouse if Column B is completed, but include all other payments of alimony or separate
             maintenance. Do not include any benefits received under the Social Security Act or payments
             received as a victim of a war crime, crime against humanity, or as a victim of international or
    10       domestic terrorism.
                                                                        Debtor                   Spouse
              a. teaching honorariums                             $            100.00 $
              b.                                                  $                      $
             Total and enter on Line 10                                                                            $          100.00 $
    11       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and, if
             Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).               $                1,900.00 $



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             Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line 11,
    12       Column A to Line 11, Column B, and enter the total. If Column B has not been completed, enter
             the amount from Line 11, Column A.                                                                  $                           1,900.00

                                                Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13       Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
             enter the result.                                                                                                     $        22,800.00
             Applicable median family income. Enter the median family income for the applicable state and household size.
    14       (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
              a. Enter debtor's state of residence:                  MI     b. Enter debtor's household size:         1            $        44,072.00
             Application of Section 707(b)(7). Check the applicable box and proceed as directed.
    15           The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not arise" at the
                 top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                 The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                         Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)
                         Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16       Enter the amount from Line 12.                                                                                        $
             Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
             Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
             dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
             spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's dependents) and the
             amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
    17       not check box at Line 2.c, enter zero.
              a.                                                                          $
              b.                                                                          $
              c.                                                                          $
              d.                                                                          $
             Total and enter on Line 17                                                                                            $
    18       Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                           $

                                         Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                                   Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
             National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS National
             Standards for Food, Clothing and Other Items for the applicable number of persons. (This information is available
   19A       at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable number of persons is the number
             that would currently be allowed as exemptions on your federal income tax return, plus the number of any
             additional dependents whom you support.                                                                              $
             National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
             Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
             Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons
             who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or
             older. (The applicable number of persons in each age category is the number in that category that would currently
             be allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom
   19B
             you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in
             Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line
             c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.
                          Persons under 65 years of age                         Persons 65 years of age or older
              a1.     Allowance per person                            a2.      Allowance per person
              b1.     Number of persons                               b2.      Number of persons
              c1.     Subtotal                                        c2.      Subtotal                                           $
             Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
             Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
   20A       available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size consists of
             the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
             any additional dependents whom you support.                                                                           $



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             Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
             Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
             available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of
             the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
             any additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any
   20B       debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B. Do
             not enter an amount less than zero.
              a.    IRS Housing and Utilities Standards; mortgage/rental expense $
              b.    Average Monthly Payment for any debts secured by your
                    home, if any, as stated in Line 42                               $
              c.    Net mortgage/rental expense                                      Subtract Line b from Line a.                    $
             Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
             20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21       Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
             contention in the space below:
                                                                                                                                     $
             Local Standards: transportation; vehicle operation/public transportation expense.
             You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
             vehicle and regardless of whether you use public transportation.
             Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
             included as a contribution to your household expenses in Line 8.
   22A
                   0     1        2 or more.
             If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
             Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS Local
             Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
             Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)           $
             Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
             for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   22B       you public transportation expenses, enter on Line 22B the "Public Transportation" amount from IRS Local
             Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
             court.)                                                                                                                $
             Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
             you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
             vehicles.)
                   1     2 or more.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
    23       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
             Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter
             the result in Line 23. Do not enter an amount less than zero.
              a.       IRS Transportation Standards, Ownership Costs                $
                       Average Monthly Payment for any debts secured by Vehicle
              b.       1, as stated in Line 42                                      $
              c.       Net ownership/lease expense for Vehicle 1                    Subtract Line b from Line a.                     $
             Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
             the "2 or more" Box in Line 23.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
             (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    24       Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter
             the result in Line 24. Do not enter an amount less than zero.
              a.       IRS Transportation Standards, Ownership Costs                $
                       Average Monthly Payment for any debts secured by Vehicle
              b.       2, as stated in Line 42                                      $
              c.       Net ownership/lease expense for Vehicle 2                    Subtract Line b from Line a.                     $
             Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    25       state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
             security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                          $




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                Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly payroll
      26        deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
                Do not include discretionary amounts, such as voluntary 401(k) contributions.                                      $
                Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
      27        life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
                any other form of insurance.                                                                                                              $
                Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
      28        pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
                include payments on past due obligations included in Line 44.                                                                             $
                Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
      29        the total average monthly amount that you actually expend for education that is a condition of employment and for
                education that is required for a physically or mentally challenged dependent child for whom no public education
                providing similar services is available.                                                                          $

      30        Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
                childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.                             $
                Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
      31        health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
                insurance or paid by a health savings account, and that is in excess of the amount entered in Line 19B. Do not
                include payments for health insurance or health savings accounts listed in Line 34.                                                       $
                Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
      32        actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
                pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health and
                welfare or that of your dependents. Do not include any amount previously deducted.                                                        $
      33        Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                                       $

                                                 Subpart B: Additional Living Expense Deductions
                                        Note: Do not include any expenses that you have listed in Lines 19-32
                Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
                the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
                dependents.
      34
                 a.         Health Insurance                                                $
                 b.         Disability Insurance                                            $
                 c.         Health Savings Account                                          $                                                             $
                Total and enter on Line 34.
                If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
                below:
                $
                Continued contributions to the care of household or family members. Enter the total average actual monthly
      35        expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
                ill, or disabled member of your household or member of your immediate family who is unable to pay for such
                expenses.                                                                                                                                 $
                Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
      36        actually incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
                other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                              $
                Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
      37        Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your case
                trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
                claimed is reasonable and necessary.                                                                            $
                Education expenses for dependent children less than 18. Enter the total average monthly expenses that you
                actually incur, not to exceed $156.25* per child, for attendance at a private or public elementary or secondary
      38        school by your dependent children less than 18 years of age. You must provide your case trustee with
                documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
                necessary and not already accounted for in the IRS Standards.                                                                             $
*   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


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             Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
             expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    39       Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
             or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
             reasonable and necessary.                                                                                               $

    40       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
             financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                             $
    41       Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                              $

                                                           Subpart C: Deductions for Debt Payment
             Future payments on secured claims. For each of your debts that is secured by an interest in property that you
             own, list the name of the creditor, identify the property securing the debt, state the Average Monthly Payment, and
    42       check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all amounts
             scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the bankruptcy
             case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the Average Monthly
             Payments on Line 42.
                    Name of Creditor                   Property Securing the Debt               Average Monthly Does payment
                                                                                                         Payment include taxes
                                                                                                                    or insurance?
               a.                                                                             $                        yes no
                                                                                                 Total: Add Lines                    $
             Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence, a
             motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    43       your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
             payments listed in Line 42, in order to maintain possession of the property. The cure amount would include any
             sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
             the following chart. If necessary, list additional entries on a separate page.
                    Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
               a.                                                                              $
                                                                                                               Total: Add Lines      $
             Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    44       priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
             not include current obligations, such as those set out in Line 28.                                                      $
             Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the following
             chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

              a.       Projected average monthly chapter 13 plan payment.                    $
    45        b.       Current multiplier for your district as determined under schedules
                       issued by the Executive Office for United States Trustees. (This
                       information is available at www.usdoj.gov/ust/ or from the clerk of
                       the bankruptcy court.)                                                x
              c.       Average monthly administrative expense of chapter 13 case             Total: Multiply Lines a and b           $
    46       Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                              $

                                                          Subpart D: Total Deductions from Income
    47       Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                             $

                                          Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48       Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                  $
    49       Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                       $
    50       Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                        $

    51       60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
             result.                                                                                                                 $




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                Initial presumption determination. Check the applicable box and proceed as directed.
                   The amount on Line 51 is less than $7,475*. Check the box for "The presumption does not arise" at the top of page 1 of this
                statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
      52
                   The amount set forth on Line 51 is more than $12,475* Check the box for "The presumption arises" at the top of page 1 of this
                statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                      The amount on Line 51 is at least $7,475*, but not more than $12,475*. Complete the remainder of Part VI (Lines 53 through 55).
      53        Enter the amount of your total non-priority unsecured debt                                                                                     $
      54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                                         $
                Secondary presumption determination. Check the applicable box and proceed as directed.
                    The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the top of page 1
      55        of this statement, and complete the verification in Part VIII.
                   The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises" at the top
                of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                           Part VII. ADDITIONAL EXPENSE CLAIMS
                Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of
                you and your family and that you contend should be an additional deduction from your current monthly income under §
                707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
                each item. Total the expenses.
      56
                         Expense Description                                                                                                     Monthly Amount
                 a.                                                                                                        $
                 b.                                                                                                        $
                 c.                                                                                                        $
                 d.                                                                                                        $
                                                                          Total: Add Lines a, b, c, and d                  $

                                                                          Part VIII. VERIFICATION
                I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
                must sign.)
      57                      Date: December 11, 2013                                       Signature: /s/ James Randall Johnson
                                                                                                         James Randall Johnson
                                                                                                                    (Debtor)




*   Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


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